Case 5:19-cv-00021-EKD-JCH Document 342 Filed 05/10/22 Page 1 of 1 Pageid#: 16567




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                 HARRISONBURG DIVISION

  REMY HOLDINGS INTERNATIONAL,                 )
  LLC                                          )
                                               )
         Plaintiff/Counterclaim-defendant,     )       Civil Action No. 5:19-cv-00021
                                               )
  v.                                           )
                                               )       By: Elizabeth K. Dillon
  FISHER AUTO PARTS, INC.,                     )           United States District Judge
                                               )
         Defendant/Counterclaim-plaintiff.     )


                                       JUDGMENT ORDER

         In accordance with the accompanying memorandum opinion entered this day and the

  jury’s verdict on March 4, 2022, it is hereby ORDERED and ADJUDGED that judgment is

  entered as follows:

         1. Judgment is entered in favor of Fisher Auto Parts, Inc. on Remy’s claim against it for

  conversion;

         2. Judgment is entered in favor of Fisher Auto Parts, Inc. and against Remy Holdings

  International, LLC for damages for breach of contract in the amount of $1,816,277; and

         3.      This matter is STRUCK from the active docket of the court.

         The clerk is directed to send a copy of this judgment order to all counsel of record.

         Entered: May 10, 2022.



                                                       /s/ Elizabeth K. Dillon
                                                       Elizabeth K. Dillon
                                                       United States District Judge
